 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 1 of 9 PageID 446



                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION

JAMES Y.A. WANG, as Personal
Representative of the Estate of Irene Wang,

      Plaintiffs,

v.                                                          Case No. 8:07-cv-102-T-30MSS

VICTOR WANG,

      Defendant.

UNITED STATES OF AMERICA,

      Intervenor.
______________________________________/


                                               ORDER
      THIS CAUSE comes before the Court upon the United States of America’s Motion to

Dismiss or Strike Cross-Claim of Victor Wang (Dkt. 11), and Plaintiff’s Response in

opposition to the same.1 The Court, having considered the motion, response, memoranda, and

being otherwise advised in the premises, finds that the United States of America’s Motion to

Dismiss or Strike Cross-Claim should be granted as stated herein.

                                              Background.

      On or about May 18, 1998, Victor Wang and Angela Lynn Stanley2, husband and wife,

purchased certain real property located at 1001 Tocobaga Lane in Sarasota, Florida (the



        1
            The Court notes that Plaintiff’s Response was filed in related Case No. 8:06-cv-1924.
        2
            Angela Stanley is now known as Angela Lynn Oujiri following her divorce from Victor Wang.
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 2 of 9 PageID 447



“Tocobaga Property”). On August 19, 1999, Victor Wang signed a Cooperation Agreement

with the United States in United States v. Victor Wang, CR-99-0753 (E.D.N.Y.), in which he

agreed to plead guilty to an information charging one count of conspiracy to commit securities

fraud pursuant to 18 U.S.C. § 371, and one count of conspiracy to launder money pursuant to

18 U.S.C. § 1956(h). Pursuant to the Cooperation Agreement, Victor Wang agreed to consent

to the entry of an order of forfeiture of $650,000.00 worth of certain assets. Victor Wang also

acknowledged that he would have to pay restitution in an amount to be determined pursuant

to 18 U.S.C. § 3663. On December 16, 1999, the Honorable Judge John Gleeson, United

States District Court for the Eastern District of New York, entered a Preliminary Order of

Forfeiture authorizing the United States to seize $650,000.00 from investment accounts held

by Victor Wang and Angela Stanley.

        On December 27, 2000, Victor Wang entered into a Superceding Cooperation

Agreement in United States v. Victor Wang, CR-00-1119 (E.D.N.Y.). Pursuant to the

Superseding Cooperation Agreement, Victor Wang agreed to plead guilty to another

information charging conspiracy to commit securities fraud pursuant to 18 U.S.C. § 371. On

March 28, 2002, after Victor Wang pled guilty to conspiracy to commit securities fraud but

prior to sentencing, he executed a quit-claim deed conveying his interest in the Tocobaga

Property to himself and his mother, Irene Wang, as joint tenants with the right of survivorship

(hereinafter, the “Tocobaga QC Deed”). On April 29, 2002, Victor Wang recorded the

Tocobaga QC Deed with the Clerk of Court of Sarasota County, Florida.




                                          Page 2 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 3 of 9 PageID 448




       On December 13, 2002, Victor Wang was sentenced jointly in Case Nos. CR-99-0753

and CR-00-1119, and ordered to pay restitution in the amount of $11,129,582.00. On January

16, 2004, the United States recorded a notice of lien pursuant to the Mandatory Victims

Restitution Act, codified in relevant part at 18 U.S.C. §3613 (the “MVRA”), with the Clerk

of Court in Sarasota County. The lien encumbered the Tocobaga Property.

       On September 8, 2005, Plaintiff, Irene Wang, sued the United States in the Circuit

Court for the Twelfth Judicial Circuit in and for Sarasota County, Florida, seeking a

declaratory judgment regarding Irene Wang’s interest in the Tocobaga Property. Later that

month, on September 16, 2005, Irene Wang died. The United States removed the action to this
                              3
Court on October 17, 2005         (hereinafter referred to as “Wang I”), and filed its Answer,

Counterclaim and Third-Party Complaint on November 21, 2005.                      In addition to

Counterclaims against Irene Wang, the answer asserted third-party claims against Victor Wang

and James Wang, the widower of Irene Wang. In the Counterclaim and Third-Party

Complaint, the United States asserts, among other claims, that Victor Wang’s transfer by

quitclaim of an interest in the Tocobaga Property to Irene Wang on March 28, 2002, was a

fraudulent conveyance.

       On or about November 30, 2005, the Tocobaga Property was sold to an independent

buyer, Michael Vaccaro. Outstanding mortgages, property taxes, back child support as well

as other liens were satisfied by payments tendered at the closing of the sale. The net proceeds

        3
          See James Y.A. Wang, Executor of the Estate of Irene Wang and James Wang, Individually v.
 United States of America, 8:05-cv-1924-JSM-MSS.

                                            Page 3 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 4 of 9 PageID 449



of the sale, in the amount of $1,012,759.32, have been deposited with the Clerk pending a

resolution of the dispute among the Wangs and the United States as to the interests, if any, of

Irene Wang’s estate, Victor Wang and/or James Wang in the proceeds from the sale of the

Tocobaga Property.

       On February 13, 2006, Plaintiffs, James Wang, as the executor of the estate of Irene

Wang, and James Wang, individually, filed an Amended Complaint seeking declaratory

judgment relief on behalf of Irene Wang’s estate and James Wang by demanding the

imposition of a constructive trust against the escrow proceeds from the sale of the Tocobaga

Property. James Wang is Irene Wang’s surviving husband and sole beneficiary of her estate

and is currently a resident of the State of New York.

       On July 28, 2006, James Wang, as personal representative of the estate of Irene Wang,

filed an action against Victor Wang in the Circuit Court for the Twelfth Judicial Circuit in and

for Sarasota County, Florida. In this action, James Wang sought reformation of the Tocobaga

QC Deed, arguing that the original intent of the parties was for the Tocobaga Property be

conveyed to Victor Wang and Irene Wang as joint tenants without the right of survivorship.

James Wang argued further that the conveyance of the property as joint tenants with the right

of survivorship was due to a scrivener’s error and mutual mistake among the parties. The

United States claims that it was not notified of this action for reformation of the deed until two

months after the complaint was filed.4 Upon receiving notice, the United States intervened in

         4
           The United States also claims that it was not provided notice of a prior motion for reformation of
 the deed filed with the Probate Division of the Twelfth Judicial Circuit in connection with the disposition of
 Irene Wang’s estate. The probate judge dismissed the motion, finding that the claim for reformation was not
                                                                                               (continued...)

                                                 Page 4 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 5 of 9 PageID 450



the action and removed it to this Court. This action for reformation of the Tocobaga QC Deed,

James Y.A. Wang as Personal Representative of the Estate of Irene Wang v. Victor Wang,

8:07-cv-102-JSM-MSS, shall hereinafter be referred to as “Wang II.”

       The United States filed an Answer and Affirmative Defenses to the Complaint in Wang

II, along with a Cross-Claim against Victor Wang and a Counterclaim against James A. Wang,

as Executor of the Estate of Irene Wang, seeking a declaratory action to determine the status

of the Tocobaga QC Deed. In response, Victor Wang filed a Cross-Claim in the form of a

declaratory action (Dkt. 148), claiming that the Tocobaga Property was his homestead

property, and that as such all proceeds derived from its sale are protected from the

government’s lien pursuant to the Florida Constitution. The Court notes that although Victor

Wang’s Cross-Claim specifically responds to the United States’ Answer, Counterclaim and

Cross-Claim as Intervenor in Wang II, Victor Wang has only filed the document in the Wang

I action.5 In response to Victor Wang’s Cross-Claim, the United States filed the instant

Motion to Dismiss or Strike Cross-Claim of Victor Wang in both Wang I and Wang II. The

Clerk has thus be directed to terminate Victor Wang’s Answer, Affirmative Defenses, and

Cross-Claim in Wang I (Dkt. 148) and docket the same in Wang II.




       4
           (...continued)
 a probate matter, and noted that the United States should be notified of any proceeding affecting its lien.
            5
                The document filed by Victor Wang contains the captions of both the Wang I and the Wang II
 actions.

                                                  Page 5 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 6 of 9 PageID 451



                                          Discussion.

       In support of its Motion, the United States argues that on March 15, 2007, this

Court denied Victor Wang’s Motion for Leave to Add Victor Wang as a Plaintiff and to add

Affirmative Defenses of Victor Wang (Dkt. 149) in Wang I. This Motion sought to (I) add

Victor Wang as a Third Party Plaintiff in Wang I, (ii) add a count to the Amended Complaint

for declaratory relief asserting Victor Wang’s homestead rights to the Tocobaga Property

pursuant to the Florida Constitution, and (iii) add an affirmative defense to the United State’s

counterclaim asserting that the Tocobaga Property was subject to Victor Wang’s homestead

rights pursuant to the Florida Constitution.

       Victor Wang argues that the Court denied this prior Motion in Wang I as a matter of

procedure, and that the issue has not been decided as a matter of law. As discussed during oral

argument on the instant motion, held on August 9, 2007, the Court agrees. However, as

argued by the United States during oral argument, the federal lien on the Tocobaga Property

supercedes the homestead protections of the Florida Constitution.

       Pursuant to 18 U.S.C. § 3613 (c), a lien imposed by the United States in connection

with an order for restitution “is a lien in favor of the United States on all property and rights

to property of the person fined as if the liability of the person fined were a liability for tax

assessed under the Internal Revenue Code of 1986.” Pursuant to the Supremacy Clause of the

United States Constitution, the Laws of the United States preempt conflicting state statutes.

U.S. Const. art. VI, cl. 2. The Supreme Court has established that state homestead laws are

preempted by federal tax collection laws. United States v. Rogers, 461 U.S. 677, 701 (1983);


                                           Page 6 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 7 of 9 PageID 452



United States v. Mitchell, 403 U.S. 190, 205 (1971). This principle has been specifically

applied within the Middle District of Florida. See United States v. Persaud, 235 F.R.D. 696,

703 (M.D. Fla. 2005) (holding a “delinquent taxpayer’s interest in tenancy-by-the-entireties

is not exempt from a federal income tax lien, and such a lien may be foreclosed by the judicial

sale of homestead property.”); Croft v. Croft, 2005 WL 1571920 * 3 (M.D. Fla. Jun. 30, 2005)

(noting that “the Florida state exemption statute for homestead property does not avoid a

federal tax lien.”); United States v. Stalker, 2000 WL 1175715 * 2 (M.D. Fla. 2000) (noting

that it “has long been established that Florida’s Homestead exemption does not erect a barrier

around a taxpayer’s home sturdy enough to keep out the Commissioner of the Internal

Revenue Service”). Furthermore, the Florida Constitution provides that judgments, decrees,

or executions for payment of taxes and assessments are exceptions to Florida’s homestead

exemption. Fla. Const. art. X, § 4(a).6

       In a recent decision, the First Circuit specifically addressed whether a restitution order

imposed pursuant to the MVRA allowed the government to garnish the sale proceeds of a

house that a debtor had attempted to exempt from the reach of creditors in a Chapter 7

bankruptcy proceeding. United States v. Hyde, 2007 WL 2253522 * 2 (1st Cir. Aug. 6, 2007).

In Hyde, the defendant contended that the Massachusetts homestead exemption trumped the

government’s authority to garnish the sale proceeds of his home to satisfy a restitution order


         6
          The Eleventh Circuit has also held that federal asset forfeiture laws supercede Florida’s homestead
 protections. See United States v. 817 N.E. Drive, Wilton Manors, Florida, 175 F.3d 1304, 1311 n. 14 (11th
 Cir. 1999) (holding forfeiture of home did not violate the Homestead Provision of the Florida Constitution
 as “[F]ederal forfeiture law . . . preempts states law.”); United States v. 3262 Southwest 141 Ave, 33 F.3d
 1299, 1301 n. 6 (11th Cir. 1994) (noting “[W]e have held that federal forfeiture law preempts the Florida
 homestead exemption from forfeiture.”).

                                                Page 7 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 8 of 9 PageID 453



imposed under the MVRA.7 Id. The First Circuit held that garnishment of the sale proceeds

was proper, reasoning that the government’s lien was equivalent to a tax lien and noting that

it is “well established that the Supremacy Clause provides the underpinning for the Federal

Government’s right to sweep aside state-create exemptions in the face of tax liability.” Id. at

* 4, n. 7; see also United States v. Lampien, 89 F.3d 1316, 1321 (7th Cir. 1996) (“[I]f the

Wisconsin homestead exemption applies to . . . prevent any part of the proceeds from the sale

of [defendant’s] home from being used to satisfy her restitution obligation, the homestead

exemption is void under the Supremacy Clause.”); United States v. Jaffe, 314 F.Supp.2d 216,

227 (S.D.N.Y. 2004) (“Florida homestead law will not protect [defendant] with respect to his

duty to provide restitution to his victim [under the MVRA].”

       Pursuant to the Supremacy Clause, the right of the United States to enforce its lien on

the Tocobaga Property supercedes any homestead rights Victor Wang may have in the

property. Thus, the validity of Victor Wang’s homestead rights, if any, is immaterial to the

instant action.8 Accordingly, Victor Wang’s Cross-Claim should be dismissed pursuant to

Fed. R. Civ. P. 12(b)(6).

       It is therefore ORDERED AND ADJUDGED that:

       1.     The United States of America’s Motion to Dismiss or Strike Cross-Claim of

              Victor Wang (Dkt. 11) is GRANTED.


        7
         The defendant in Hyde claimed that the MVRA must yield to the “fresh start” policy behind the
 Bankruptcy Code. The Court rejected this argument, which is not at issue in the instant action.
        8
        The Court notes that the validity of the United States’ lien is still at issue in this action.
 However, to the extent that it is valid, the lien is superior to any homestead rights Victor Wang
 might have in the property.

                                             Page 8 of 9
 Case 8:07-cv-00102-JSM-MSS Document 13 Filed 08/24/07 Page 9 of 9 PageID 454



            2.          The Cross-Claim of Victor Wang contained within his Amended Answer,

                        Affirmative Defenses, and Cross-Claim (Dkt. 12), is hereby DISMISSED with

                        prejudice.

            DONE and ORDERED in Tampa, Florida on August 24, 2007.




Copies furnished to:
Counsel/Parties of Record
S:\Even\2007\07-cv-102.mt strike cross-claim.frm




                                                   Page 9 of 9
